Case 2:12-cv-00601-ROS Document 3737 Filed 09/04/20 Page 1of1
Case: 2:12-cv—00601-ROS

§
LODGED ‘
cory

FILED
RECENVED __—

SEP 04 2020

1

Berry Williams #267365 a
FLORENCE-AZ—FLORENCE-ASPC-EAST

A-2-9

EAST UNIT

P.0. BOX 5000

FLORENCE, AZ 85132

BDOST FIRST-CLASS MAIL
{ITED STATES DISTRICT COURT \EOPOst eaten a
CONNOR U.S. COURTHOUSE, SUITE 130 s2812020 5 5 5 5 - 5:
N. WASHINGTON ST., sPc-1 | :

2>HOENIX, AZ 85003-2118

a

OFFICIAL BUSINESS

ZIP 85003
041M11297591

BSa a909/a02/26
FORWARD TO: war ERE YERABLE AS ADDRESSED
ASPC-Tucson Complex | HOT DELIVERABLES 2G, WARD
! . 747 3 - =-24
PO Box 24400 ‘yp ogc: 85903213095 titi vA
Tucson, AZ 86734-4400, «3 sia cofanf bag foa yyy PE Ti iN

CW

